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                        Exhibit 1

              Agreed Proposed Interim Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1
                                                                  (Jointly Administered)
                              Debtors.
                                                                  Ref. D.I. 7118, 7119, 7120, 7122

                   AGREED INTERIM ORDER ON DEBTORS’ MOTION
              (I) ENFORCING THE SOLICITATION PROCEDURES ORDER,
      (II) ENFORCING SECTION 1103 OF THE BANKRUPTCY CODE AGAINST THE
       TORT CLAIMANTS’ COMMITTEE, AND (III) GRANTING RELATED RELIEF

             Upon the motion [D.I. 7118] (the “Motion”) 2 of the Debtors for entry of an order (this

“Order”), pursuant to sections 105(a), 1103, and 1125 of the Bankruptcy Code, (i) enforcing the

Solicitation Procedures Order as set forth herein, (ii) enforcing the terms of section 1103 of the

Bankruptcy Code and requiring that any official email address of the Tort Claimants’ Committee

(the “TCC”) be used only for official TCC business applicable to the survivor community and not

for the benefit of individual state court counsel, and (iii) granting related relief; and upon the

Warner Declaration [D.I. 7119] filed in support of the Motion; and the Joinder [D.I. 7120] filed in

support of the Motion by the Coalition of Abused Scouts for Justice (the “Coalition”); and this

Court having jurisdiction to consider the Motion in accordance with 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Debtors having consented to entry of a final order by



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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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this Court under Article III of the United States Constitution; and the Court having found that

venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and appropriate notice of and opportunity for a hearing on the Motion having been given

and no other or further notice being necessary; and upon the record herein; and the Court having

been advised the Debtors, the Coalition, and the TCC have agreed upon the terms of this Order,

IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Solicitation Procedures Order that was entered by this Court on September 30,

2021 remains in full force and effect, and this Order serves to supplement and work in conjunction

with the existing Solicitation Procedures Order.

       3.      The Solicitation Procedures Order is hereby supplemented to provide as follows:

               (a)    The TCC shall refrain from distributing, for the entirety of the chapter 11
                      cases, any and all communications from or on behalf of any state court
                      counsel, including, without limitation, to parties on the TCC List or the
                      Kosnoff List, as such lists may be amended, modified, or supplemented
                      from time to time;

               (b)    Any official email address of the TCC, including any email address of
                      counsel to the TCC, shall be used only for official TCC business applicable
                      to the survivor community and not for the benefit of individual state court
                      counsel; and

               (c)    The TCC shall give prior notice to Debtors’ and the Coalition’s
                      restructuring counsel of any substantive written communications that it
                      intends to distribute to any holder of an abuse claim, including, without
                      limitation, parties on the TCC List or the Kosnoff List, as such lists may be
                      amended, modified, or supplemented from time to time, at least 48 hours
                      prior to distribution (the “Notice Requirement”); provided that, without
                      limiting any other provision of this Order, (i) notices of TCC town hall
                      meetings (including topics to be discussed at the TCC town hall meetings)
                      are not subject to the Notice Requirement so long as such notices and topics
                      are posted to the TCC’s creditor information website contemporaneously
                      with distribution; (ii) transcripts and recordings of town hall meetings are
                      not subject to the Notice Requirement so long as such transcripts and
                      records are posted to the TCC’s creditor information website
                      contemporaneously with distribution; (iii) the Notice Requirement does not


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                       apply to responses to individual survivor questions and inquiries received
                       by the TCC via telephone, email or at the Town Halls; (iv) the Notice
                       Requirement does not apply to individual communications with counsel for
                       a represented survivor or individual communications with an unrepresented
                       survivor and (iv) nothing in this Order affects the rights or privileges of the
                       TCC members to communicate amongst themselves and its members’ right
                       to communicate with TCC-retained professionals.

                       If, upon 48 hours’ notice to the Debtors and the Coalition (the “Notice
                       Period”) in accordance with the Notice Requirement, the Debtors or the
                       Coalition dispute the propriety or accuracy of any of the proposed
                       communications, the Debtors, the Coalition and TCC shall confer in good
                       faith in an attempt to agree on revised communications. If the Debtors, the
                       Coalition and the TCC are unable to agree to revised communications
                       before the expiration of the Notice Period, the Debtors or the Coalition may
                       seek an expedited hearing with the Court to resolve such disagreement. In
                       that event, the TCC shall not oppose the Debtors’ or the Coalition’s request
                       for expedited consideration; provided that any such hearing is held on not
                       less than 24 hours’ notice to the TCC; provided further that, if a hearing to
                       consider any appropriate relief in connection with any communications (as
                       may be held on an expedited basis) is requested by the Debtors or the
                       Coalition to be heard within 24 hours’ after expiration of the Notice Period
                       but is scheduled for a later date by the Court, the communication at issue
                       shall not be distributed until the hearing concludes. In the event of any
                       dispute regarding the terms of such communications, the Debtors, the
                       Coalition and the TCC reserve any and all rights under the Bankruptcy Code
                       or applicable law.

       4.      The TCC shall comply with all requests for discovery related to the TCC/Kosnoff

Communications and the circumstances related thereto, whether served by the Debtors, the

Coalition, or any other party in interest, including causing individuals over whom it has control to

appear for depositions; provided, that if the TCC objects to any request for discovery, and the

parties are unable to resolve the dispute despite reasonable efforts, the party requesting the

discovery or the TCC may raise the dispute to the Court on an expedited basis.

       5.      Notwithstanding anything to the contrary in the Motion or this Order, the Debtors,

on behalf of themselves and their estates, and the Coalition retain all rights to seek any further and

other applicable legal or equitable remedies for, or other relief in connection with, the TCC’s

actions, and the Debtors’ and/or the Coalition’s failure to request any such relief in the Motion or


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the Joinder or the omission of any such relief from this Order shall not preclude the Debtors, the

Coalition, or any other party from later seeking such relief in accordance with applicable law and

rules.

         6.    The Debtors, the Coalition and TCC are authorized to take all action necessary to

effectuate the relief granted in this Order.

         7.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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